Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 1 of 25 PageID 5




            EXHIBIT A
     Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21            Page 2 of 25 PageID 6



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

HANANE CHEDDADI SAFI,                         §
                                              §
             Plaintiff,                       §
                                              §
v.                                            §     CIVIL ACTION NO.
                                              §
CENTRAL MARKET - HEB,                         §
                                              §
             Defendant.                       §

                  INDEX TO DEFENDANT’S NOTICE OF REMOVAL

 EXHIBIT                           DOCUMENT                                 DATE OF
                                                                           DOCUMENT
                                                                          AND/OR FILING

      A-1     State Court Action Docket Sheet                             04/19/2021
      A-2     Case Filing Cover Sheet and Plaintiff’s Original Position   11/09/2020
      A-3     Return of Service                                           03/15/2021
      A-4     Return of Service                                           03/23/2021
      A-5     Defendant’s Original Answer                                 04/09/2021




                                                                                       46781937.1




EXHIBIT A – INDEX TO DEFENDANT’S NOTICE OF REMOVAL                                      PAGE 1
Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 3 of 25 PageID 7




        EXHIBIT A-1
Details                                                                        Page 1 of 6
          Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21    Page 4 of 25 PageID 8




            Case Information




            DC-20-16679                95th District Court   PURDY, MONICA

            11/09/2020                 EMPLOYMENT            OPEN




            Party


                                                                          
            SAF, HANANE CEDDADI                               Pro Se
            Address
            7344 HIGHLAND HEATHER LN
            DALLAS TX 75248




                                                                          
            CENTRAL MARKET- HEB                              Lead Attorney
            Address                                          BAKER, JANA S
            646 SOUTH FLOREST                                Retained
            SAN ANTONIO TX 78204




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0         4/19/2021
Details                                                                        Page 2 of 6
          Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21    Page 5 of 25 PageID 9

            Events and Hearings




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              12/18/2020


              CONSTABLE 3




              CONSTABLE 3


              12/18/2020

              CENTRAL MARKET - HEB


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                UNEXECUTED CITATION - CENTRAL MARKET - HEB


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                Set for Dismissal. E-mailed Pro Se.


                                           




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0         4/19/2021
Details                                                                       Page 3 of 6
      Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21      Page 6 of 25 PageID 10




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            Dismissal re-set. E-mailed plaintiff.


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          03/11/2021


          CONSTABLE 3




          CONSTABLE 3


          03/15/2021

          CENTRAL MARKET-HEB


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            EXECUTED CITATION - CENTRAL MARKET-HEB


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          03/18/2021


          CERTIFIED MAIL




          CERTIFIED MAIL




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0        4/19/2021
Details                                                                                           Page 4 of 6
      Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21                          Page 7 of 25 PageID 11

          03/23/2021

          CENTRAL MARKET-HEB


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            EXECUTED - CITATION - CENTRAL MARKET-HEB - CERT MAIL


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            Dismissal re-set. E-mailed plaintiff.


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            Dismissal hearing canceled. Answer filed.


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          PURDY, MONICA


          9:00 AM


          BY COURT ADMINISTRATOR


          Notes from 3/4 docket sheet: Def. not able to receive notice. Re-set 30.




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                            4/19/2021
Details                                                                               Page 5 of 6
      Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21          Page 8 of 25 PageID 12



          Financial


             Total Financial Assessment                                      $552.00
             Total Payments and Credits                                       $88.00


          11/9/2020   Transaction                                           $292.00
                      Assessment

          11/9/2020   Transaction                                            $88.00
                      Assessment

          3/8/2021    Transaction                                            $88.00
                      Assessment

          3/8/2021    PAYMENT (CASE       Receipt # 13704-   SAF, HANANE   ($88.00)
                      FEES)               2021-DCLK          CEDDADI

          3/10/2021   Transaction                                            $84.00
                      Assessment




          Documents




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                4/19/2021
Details                                                                       Page 6 of 6
      Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21      Page 9 of 25 PageID 13




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0        4/19/2021
Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 10 of 25 PageID 14




         EXHIBIT A-2
                                                                      CIVIL CASE INFORMATION SHEET
                                     Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21 Page 11 of 25 PageID 15
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              A civil case information sheet must be completed and submitted when an original petition or application'is led Lo initiate a new civil, family law, probate, or mental
              health case or when apost—Judgment petition for modication or motion for enforcementis led 1n a family law case. The information should be the best available at
              the time ofling.
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               DOther Debt/Contract:                                                                   Accounting                                                                 DTrespass to Try Title                                                      UNo Children                                                DEnforcemem/Modication                                                           .




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     UNon-Competit'ion                                                                        ProductLiabiliry                                                                    DJIIdSment NiSi                                                             Judgment                                                       Tenniatlon
     Dpamership                                                                                 DAgbesms/smca                                                                     DNon-Disclosur‘e                                                       UHabeas Corpus                                                   DChild Protection                                                        ~


     DOther Contract:
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               etaliation                                                                          DAntitrust/Unfair                                                              DPerpetuate Testimony
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     DOther Employment:                                                                            UForeigt Judgment                                                              UOther:
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     UArbitration-related                                                                                                                                  DGarnishment                                                                                               UProtective Order
     UAttachrnent                                                                                                                                          Ulnterpleader                                                                                              DReceiver
     UBill of Review                                                                                                                                       ULicense                                                                                                   DSequestration
     UCertiorati                                               DMandamus                                                                                                                                                                                              DTemporary Restraining Order/Injunction
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     DLess than $100, 000, including damages ofany kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
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Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 12 of 25 PageID 16
Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 13 of 25 PageID 17
Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 14 of 25 PageID 18




         EXHIBIT A-3
      g 0 2 1 78
                          P
                           Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21

    FORM NO. 353-3 - CITATION
    THE STATE OF TEXAS
                                                                                                 Page 15 of 25 PageID 19

                                                                                                                                  PCT. 3
                                                                                                                                            W                    FILED
                                                                                                                                                      3/15/2021 9:17 AM
                                                                                                                                                        FELICIA PITRE
                                                                                                                                                      DISTRICT CLERK
                                                                                                                                                    DALLAS CO.,
                                                                                                                                                                Tgm




    To:     CENTRAL MARKET— HEB
            4349 w NORTHWEST HWY
                                                             w\ ‘ A       j                                                    CITATION


                                                                                                                               bozo—16679
            DALLAS TX 75220
    GREETINGS:                                                                                                             HANANE CEDDADI SAF
    Y0u have been sued. You may employ an attorney. If you or your attorney do not le a written                                      Vs.
    Answer with the clerk who issued this citation by .10 o'clock a.m. of the Monday next following the                   CENTRAL MARKET' HEB
    expiration of twenty._days aer you were served this citation and petition, a defaultjudgment may be taken
    against you. In addition to ling a written answer with the clerk, you may be required to make initial
    disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days             ISSUED THIS
    aer you le your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be                       9th day of Mch’    2021
    addressed to the clerk of the 95th District Court at600 Commerce Street, Ste. 101, Dallas, Texas 752g.

    Said Plaintiff being HANANE CEDDADI SAF                                                                                            PITRE
                                                                                                                             FELIGIA
                                                                                                                 i         Clerk District Courts,
'

    Filed in said Court 9th day of November, 2020 against                                                    l
                                                                                                                           Dallas COUDW, Texas

    CENTRAL MARKET— HEB
                                                                                                                     By: CARLENIA BOULIGNY, Deputy
    For Suit, said suit being numbered DC-20-16679, the nature of which demand is as follows:
    Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation.          If
                                                                                                                 '
                                                                                                                       Attorney for Phintm PR0 SE
    this citation is not served, it shall be returned unexecuted.                                                        HANANE CEDDADI SAF
                                                                                                                      7344 HIGHLANDHEATHER LN
    WITNESS; FELICIA PITRE, Clerk of the District Courts orDaiias, County Texas.                                           DALLAS TX 75248
    Given under my hand and the Seal of said Court at ofce this 9th day of March, 2021.
                                                                                                                        cheddadi.hanane@gmail.com



                                                                                                                     AFFIDAVIT INABILITY TO PAY
                                  Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21                                                                         Page 16 of 25 PageID 20
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                                                                                        OFFICER'S RETURN
           Case No.   :   DC-20-I6679
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           Court No.95th District Com-t
MW
           Style: HANANE CEDDADI SAF
           Vs.                                                 '




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           CENTRAL MARKET- HEB



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                                                                   together             the accompanying copy                                             pleading, having rst         endorsed on same date        of delivery.
           The distance actually traveled by me in serving such process was                                               miles and my fees are as follows: To certify
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W




                               For Notary                          $                                  by                                                                          b     {a        v    puty
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           Signed and sworn to by the said                                                           before me this                                         day   of                                      , 20          ,
           To certify which witness my hand and seal of oice.
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Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 17 of 25 PageID 21




         EXHIBIT A-4
                        Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21                                      Page 18 of 25 PageID 22

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FORM NO. 353-3 - CITATION                                                                        "'0
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THE STATE OF TEXAS
                                                                                                       8:25                               CITATION
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To:     CENTRAL MARKET- HEB                                              Ir}.                      V
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        646 SOUTH FLOREST
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        SAN ANTONIO TX 78204

GREETINGS:                                                                                                                           HANANE CEDDADI SAF
You have been sued. You may employ an attorney. If you or your attorney do not le a written                                                     Vs.
Answer with the clerk who issued this citation by 10 o'clock a.m. ofthe Monday next following the                                   CENTRAL MARKET— HEB
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to ling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days                            ISSUED THIS
alter you le your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be                                   15th day of March, 2021
addressed to the clerk of the 95th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being HANANE      CEDDADI SAF                                                                                            FELICIA PITRE
                                                                                                                                      Clerk District Courts,
Filed in said Court 9th day of November, 2020 against                                                                                 Dallas County, Texas

CENTRAL MARKET- HEB
                                                                                                                               By: CARLENIA BOULIGNY, Deputy
For Suit, said suit being numbered DC-20-l6679, the nature of which demand is as follows:
Suit on EMPLOYMENT etc. as shown on said petition, a copy of which accompanies this citation. If                                     Attorney for Plaintiff
this citation is not served, it shall be returned unexecuted.                                                                      HANANE CEDDADI SAF
                                                                                                                                7344 HIGHLAND HEATHER LN
WITNESS: FELlCIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                         DALLAS TX 75248
Given under my hand and the Seal of said Court at oice this 15th day of March, 2021.
                                                                                                                                  cheddadi.hanane@gmail.com
ATTEST: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County, Texas
                                                                                                                           D         COUNTY CONSTABLE
                                                                                                                                 FEES     FEES NOT
                                                                                                                                 PAID        PAID
                               Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21                                          Page 19 of 25 PageID 23

                                                                           OFFICER'S RETURN
Case No.   :   DC-20-l6679

Court No.95th District Court

Style: HANANE CEDDADI SAF

Vs.

CENTRAL MARKET- HEB


Camcto hand on the           /6%               day   of                    ,20   02/, at-q 67                  o'clock    r        .M.Executedat

within the County of                                      lfbM/              o c'lock            ..M on the                       day of

20                     ,   by delivering to the within named



Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having rst            endorsed on same date   of delivery. The distance actually traveled by

me in sewing such process was                   miles and my fees are as follows: To certify which witness my hand.

                                   For serving Citation         S

                                  For mileage                   S                               of                            County,

                                  For Notary                    S                                by                                                      Deputy

                                                                    (Must be veried     if served outside the State of Texas.)
Sigied and swom to by the said                                          before me this                day of                            , 20

To certify which witness my hand and seal ofoice.


                                                                                                 Notary Public                                          County
                            Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21                                            Page 20 of 25 PageID 24

                                                                        OFFICER'S RETURN
Case No.   :   0020-16679
Court No.95th District Court

Style: HANANE CEDDADI SAF
Vs.

CENTRAL MARKET- HEB


Came to hand on the 151'" day of MARCH, 2021 at 9:37 o'clock A.M. Executed at 646         SOUTH FLOREST, SAN ANTONIO, TX 78204 within the County of
                                  at 7:53 o'clock   AM. on the 18"“ day of MARCH, 2021, by delivering to the within named CENTRAL MARKET-HEB BY US CERTIFIE
MAIL RETURN RECEIPT RECEIVED AND SIGNED BY JAMES WN.


Each in person, a true copy ofthis Citation together with the accompanying copy of this pleading, having     rst       endorsed on same date    of delivery. The distance actually traveled by

me in serving such process was               miles and my fees are as follows: To certify which witness my hand.

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Signed and sworn to by the said                                      before me this              day   of                                , 20

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Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21   Page 22 of 25 PageID 26




         EXHIBIT A-5
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                                                                                                         FELICIA PITRE
     Case 3:21-cv-00894-B Document 1-1 Filed 04/19/21               Page 23 of 25 PageID       27 DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                                Eduardo Suarez DEPUTY


                                       CAUSE NO. DC-20-16679


HANANE CHEDDADI SAFI,                            §           IN THE DISTRICT COURT
                                                 §
                Plaintiff,                       §
                                                 §
v.                                               §           95TH JUDICIAL DISTRICT
                                                 §
                                                 §
CENTRAL MARKET - HEB,                            §
                                                 §
                Defendant.                       §           DALLAS COUNTY, TEXAS

      DEFENDANT’S ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL POSITION

         Defendant HEB Grocery Company, L.P. (“HEB”), incorrectly named as Central Market –

HEB, files this its Original Answer to Plaintiff Hanane Cheddadi Safi’s (“Safi”) Original Position

(“Petition”), and states:

                                  I.       GENERAL DENIAL

         Pursuant to Rule 92 of the Texas Rules of Civil Procedure, HEB denies each and every

allegation in the Petition and any amendment or supplement thereto, and demands strict proof

thereof as required by the laws of the State of Texas. With respect to any claim by Safi for punitive

damages, HEB demands strict proof thereof by clear and convincing evidence.

                                 II.      PRAYER FOR RELIEF

         HEB requests the following relief:

         (a)    that Safi take nothing by way of her Petition;

         (b)    that HEB be awarded its costs and reasonable attorneys’ fees incurred in defense of

                this action pursuant to Chapter 37 of the Texas Civil Practice and Remedies Code;

                and




DEFENDANT’S ORIGINAL ANSWER                                                                   Page 1
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        (c)    that HEB be awarded all such other and further relief at law or in equity to which

               it may show itself to be justly entitled.

                                                       Respectfully submitted,

                                                       By: /s/ Jana S. Baker
                                                       JANA S. BAKER
                                                       Texas State Bar No. 00794610
                                                       jana.baker@ogletree.com
                                                       LAURA E. GRUBB
                                                       Texas State Bar No. 24097774
                                                       laura.sandman@ogletree.com

                                                       OGLETREE, DEAKINS, NASH, SMOAK &
                                                       STEWART, P.C.
                                                       500 Preston Commons West
                                                       8117 Preston Road
                                                       Dallas, Texas 75225
                                                       214.987.3800 (Phone)
                                                       214.987.3927 (Fax)

                                                       ATTORNEYS FOR DEFENDANT HEB
                                                       GROCERY COMPANY, L.P.


                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2021, the foregoing document was electronically filed with
the Clerk of the Court using the CM/ECF system, which will transmit a Notice of Electronic Filing
to Plaintiff, and sent a copy of the foregoing document via electronic mail to:

       Hanane Cheddadi Safi
       7344 Highland Heather Ln
       Dallas, TX 75248
       Cheddadi.hanane@gmail.com

       PRO SE PLAINTIFF

                                                  /s/ Jana S. Baker
                                                  JANA S. BAKER



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DEFENDANT’S ORIGINAL ANSWER                                                                  Page 2
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Jana Baker on behalf of Jana Baker
Bar No. 00794610
jana.baker@ogletreedeakins.com
Envelope ID: 52329431
Status as of 4/12/2021 9:03 AM CST

Case Contacts

Name                 BarNumber   Email                          TimestampSubmitted    Status

Jana Baker                       jana.baker@ogletreedeakins.com 4/9/2021 4:54:55 PM   SENT

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Lori DeMoss                      lori.demoss@ogletree.com       4/9/2021 4:54:55 PM   SENT

Dallas Docketing                 DALDocketing@ogletree.com      4/9/2021 4:54:55 PM   SENT
